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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


IN THE MATTER OF FALCON                                    CIVIL ACTION
GLOBAL OFFSHORE II, AS OWNER,
SEACOR MARINE LLC AS
MANAGER/OPERATOR, AND SEACOR                               NO. 21-1062
LIFTBOATS LLC, AS ALLEGED
OWNER/OPERATOR OF THE SEACOR
POWER PETITIONING FOR EXONERATION
FROM OR LIMITATION OF LIABILITY                            SECTION: “H”

                                  ORDER
     Before the Court is the Ex Parte Motion to Establish and Appoint
Limitation Claimants’ Leadership Structure (R. Doc. 13) filed by Limitation
Claimants Bryan Mires, James Gracien, Hannah Daspit as Personal
Representative of Decedent Dylan Daspit, Krista Vercher as Personal
Representative of Decedent Joe Guevara, Jr., and Yvette J. Ledet in her own
right and in her capacity as the legal and Personal Representative of her
deceased husband, Captain David Ledet (collectively “Limitation Claimants”).
Having considered the Motion and accompanying Memorandum in Support,
the Court agrees that certain leadership structure is appropriate in this
matter. Accordingly, to the extent the Motion requests that the Court appoint
Co-Lead Liaison Counsel and an Executive Committee to act on behalf of
Limitation Claimants in this matter,
     IT IS ORDERED that the Motion is GRANTED.
     IT IS FURTHER ORDERED that applications/nominations for the
positions of Co-Lead Liaison Counsel and Executive Committee member be



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mailed or faxed to Chambers on or before June 23, 2021. The main criteria for
selection as Co-Lead Liaison Counsel or an Executive Committee member is:
(a) willingness and availability to commit to a time-consuming project;
(b) ability to work cooperatively with others; (c) experience in this type of
litigation. Applications/nominations should succinctly address each of the
above criteria as well as other relevant matters. No submissions longer than
four (4) pages will be considered. The Court will only consider attorneys who
have filed a civil action in this litigation and are admitted to practice in the
Eastern District of Louisiana.



            New Orleans, Louisiana this 17th day of June 2021.




                                    ____________________________________
                                    JANE TRICHE MILAZZO
                                    UNITED STATES DISTRICT JUDGE




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